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                                UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA FRESNO


     In re:                                              Case No.: 15‐14228‐B‐13F

     Oscar Gutierrez                                     Chapter 13

                                                         DC NO:       MHM‐2

                           DEBTOR                          CHAPTER 13 TRUSTEE’S OBJECTION TO
                                                         CONFIRMATION OF CHAPTER 13 PLAN

                                                            REQUEST FOR BAR DATE

                                                         DATE: March 10, 2016
                                                         TIME: 1:30 PM
                                                         PLACE: U.S. Courthouse
                                                                Dept. B, Courtroom 13
                                                                5th Floor
                                                                2500 Tulare Street
                                                                Fresno, Ca 93721

                                                         JUDGE: Honorable Rene Lastreto II

                                           PLAN OBJECTION INFORMATION
     Trustee Objects To: Chapter 13 Plan
     Dated: 10/30/15
     Filed: 10/30/15
     Docket #: 10

                                               CASE INFORMATION

     Petition Filed: 10/30/2015                   (Pre Confirmation) 341 Concluded: 2/9/2016
     Confirmation Deadline:                       (Post Confirmation) Last Confirmed Plan:



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                                                    I. OBJECTION

    MICHAEL H. MEYER, Chapter 13 Trustee in the above referenced matter, opposes confirmation of the
    Chapter 13 Plan filed on October 30, 2015 on the following grounds:

                                 (A) CHAPTER 13 PLAN 11 U.S.C. §1322, 1324, 1325 and 1326

        (1) The plan fails to provide for submission of all or such portion of future earnings or other future
     income to the supervision and control of the Trustee as is necessary for execution of the plan. [11 U.S.C.
     §1322(a)]

     Facts: The plan payments are short each month $1.55. Therefore, either the plan payment must be
     increased or if the attorney so chooses he can reduce his fees by said amount in that this is an attorney
     error in calculation.

         (2) The plan fails to provide for the full payment, in deferred cash payments, of all claims entitled to
     priority under §507 of this title. [11 U.S.C. §1322(a)]

     Facts:
        Debtor has filed tax returns as married for the last four years. Debtor has filed declarations in support
     of his case indicating that Debtor is not in fact married. The Trustee has requested that he amend his tax
     returns for the last four years and to provide said returns to the Trustee.
        The Trustee continued the meeting of the creditors three times to get 2011‐2014 tax returns.
     However, the Trustee has received only two of the four tax returns so far. Debtor owes $1,328.00 to the
     IRS for 2013. The Trustee does not have 2011‐2012 yet, however, the plan does not provide for the
     payment of the 2013 taxes and possibly taxes that he may owe for 2011‐2012.

        (3) The plan fails to provide for the same treatment of claims classified within a particular class. [11
     U.S.C. §1322(a)]

     Facts:
        (4) The plan unfairly discriminates between a class or classes of unsecured claims. [11 U.S.C.
     §1322(b)(1)]

     Facts:
         Debtor has entered into an oral agreement with an individual, named Adoney Diaz regarding the
     purchase of a vehicle. The agreement is not in the plan. See Section 3. Executory Contracts and Expired
     Leases.
         The Debtor initially characterized this debt as a secured debt (why, is not certain) and listed it as a
     Class 4 claim to be paid direct, outside the plan. However, when examined at the meeting of the
     creditors, Debtor testified that Mr. Diaz entered into a contract with a lender and is paying the lender
     who holds a security interest in the vehicle. The Debtor however is buying the car from Mr. Diaz.
     Therefore, this is not properly characterized as an unsecured executory contract. Mr. Diaz will turn over
     title when the lender has been paid in full.
         The Debtor would like to pay for the unsecured vehicle in full outside the plan. However, this is
     preferential treatment of an unsecured debt in that the other unsecured creditors are being paid 0%.
     Debtor, therefore, needs to provide evidence as to why this discrimination is not unfair.
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        (5) The plan impermissibly modifies the claim of the creditor secured only by a security interest in real
     property that is the Debtor(s') principal residence. [11 U.S.C. §1322(b)(2)]

     Facts:

         (6) The plan fails to provide for the value, as of the effective date of the plan, of property to be
     distributed under the plan on account of each allowed unsecured claim is at least the amount that would
     be paid on such claim if the estate of the Debtor(s) was liquidated under a Chapter 7 of this title on such
     date. [11 U.S.C. §1325(a)(4)]

     Facts:
           Debtor has filed tax returns as married for the last four year. Debtor has filed declarations in
     support of his case indicating that Debtor is not in fact married. The Trustee has requested that he
     amend his tax returns for the last four years and to provide said returns to the Trustee.
           The Trustee continued the meeting of the creditors three times to get 2011‐2014 tax returns.
     However, the Trustee has received only two of the four tax returns so far. Debtor is entitled to a refund
     in the amount of $1371 from the IRS for the year 2014. The Trustee does not have 2011‐2012 yet,
     however, the Debtor may have further refunds. Without said returns the Trustee cannot determine if
     this case meets liquidation.

        (7) The Debtor(s) will not be able to make all payments under the plan and comply with the plan. [11
     U.S.C. §1325(a)(6)]

     Facts:
        Debtor has filed tax returns as married for the last four year. Debtor has filed declarations in support
     of his case indicating that Debtor is not in fact married. The Trustee has requested that he amend his tax
     returns for the last four years and to provide said returns to the Trustee.
        Currently the plan is not feasible based on the 2013 taxes that are owed. However, at this point,
     without all the tax returns the Trustee cannot determine the feasibility of this plan.

        (8) The Debtor(s) have not paid all domestic support obligations as required by 11 U.S.C. §1325(a)(8).

     Facts:

        (9) The Debtor(s) have not filed all applicable tax returns required by 11 U.S.C. §1325(a)(9).

     Facts:

         (10) The plan does not provide for the payment of equal monthly amounts to allowed secured claims.
     [11 U.S.C. §1325(a)(5)(B)(iii)(I)]

     Facts:

        (11) The plan has not been proposed in good faith [11 U.S.C. §1325(a)(3)] and/or the action of the
     Debtor(s) in filing the petition was in bad faith. [11 U.S.C. §1325(a)(7)]

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     Facts:

        (12) The plan provides for payments to creditors for a period longer than 5 years. [11 U.S.C. §1322(d)]

     Facts:

        (13) With respect to each allowed secured claim provided for by the plan, the plan fails to provide for
     the value, as of the effective date of the plan, of property to be distributed under the plan on account of
     each allowed amount of such claim. [11 U.S.C. §1325(a)(5)(B)(ii)]

     Facts:

         (14) The hearing on plan confirmation was not held within 45 days of the meeting of the creditors as
     required by 11 USC §1324(b) and/or a plan has not yet been confirmed. The Trustee requests a bar date
     to avoid unreasonable delay to payment of creditors.

     Facts:
        The first meeting of the creditors was December 8, 2015. Prior to that meeting the Senior staff
     attorney requested by email that the Debtor amend their tax returns, in that Debtor was not married.
        At the meeting, the Trustee requested copies of the amended tax returns for the 4 years prior to filing
     to make sure that all required tax returns under 1308 were properly amended. Additionally, at that
     meeting, the Trustee requested a declaration regarding the need for the vehicle being bought from Mr.
     Diaz. The Trustee also mentioned the extra $411.00 on schedule J, wherein the staff attorney was
     advised by Debtor’s counsel that he would be amending schedule J. The staff attorney for the Trustee
     also requested that the Attorney file an amended Attorney Disclosure Statement.
        These requests had not been met in time for the continued meeting of the creditors on January 12,
     2016. Therefore the meeting was continued to February 9, 2016. The requests were still not met.
     Therefore, the Staff Attorney determined a continued meeting would reap no further benefit and
     concluded said meeting to file this objection.
        The Trustee requests, given the unexplainable delay, that the court order a plan be confirmed by a
     date certain in order to avoid unreasonable delay.

         (15) Other:

     Facts:

                                  (B) 11 U.S.C. §1325(b)(1)(B) DISPOSABLE INCOME

        (16) The plan does not provide for all of Debtor(s’) projected disposable income to be applied to
     unsecured creditors under the plan.

     Facts:
       Debtor must provide all disposable income to be received in the applicable commitment period
     beginning on the date that the first payment is due under the plan, and it must be applied on such date
     toward payments to unsecured creditors. 11 USC §1325(b)(1)(B).
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         Debtor is a below median debtor, as such, his applicable commitment period is 36 months and his
      reasonably necessary expenses are determined under 1325(b)(2) and not under 707(b)(2)(A) and (B).
      This means the court determines what is reasonably necessary to be expended on Debtor and his
      dependents.
          The Debtor filed a schedule J, on October 30, 2015; the statements made in the schedules are made
      under penalty of perjury. On said J, debtor lists $411.00 on Vehicle 2. At the meeting of the creditors the
      Debtor stated that Debtor did not pay for Vehicle 2, but that this additional vehicle listed was a debt he
      co‐signed with his father and one that his father paid directly.
          Therefore, this amount is not reasonably necessary for the support of Debtor or his dependents.
      Moreover, it is not an expense the Debtor pays at all.
          Therefore, this expense must be removed. When said expense is removed, Debtors’ current monthly
      income of $2,946.00, plus Ms. Camacho’s contribution of $446.00, less the remaining expenses of
      $2,601.00 on Schedule J, less amounts payable to Consumer Portfolio through the plan at $83.80 a
      month ($2,838.00 amortized over 36 months with 4% interest), less monthly tax obligations of $279.42,
      less attorney fees of $225.00 a month and Trustee compensation of $35.48, totals $167.30 in projected
      disposable income to be paid each month commencing in month 1 to unsecured creditors. Over 36
      months this is a total of $6,022.80 or 4.19% to unsecured creditors.


                                                        (C) LOCAL RULES

         (17) The motion is unsupported by a declaration addressing each element of section 1325(a) [Local Rule
      9014‐1(d)(6)]

      Facts:

         (18) Debtor(s) failed to file, serve and set a motion to value collateral. [Local Rule 3015‐1(j)]

      Facts:

         (19) Debtor(s) failed to utilize Form EDC 3‐080 (effective 5/1/12), the standard form Chapter 13 Plan.
      [Local Rule 3015‐1(a)]

      Facts:

          (20) Debtor(s) have not shown compliance with 11 United States Code §1325(a)(1) as to the Additional
      Provisions portion of the plan. When the Debtor(s) use the Additional Provisions of the Chapter 13 plan to
      craft their debtor‐creditor relationship to a particular creditor, the Debtor(s) must make an evidentiary
      showing and file a supporting brief that identifies each such customization and demonstrates compliance
      with applicable portions of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure.

      Facts:

         (21) The plan provides for the payment of fees in excess of the fixed compensation allowed in Local
      Bankruptcy Rule 2016‐1(c).

      Facts:
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        (22) Other: Failure to properly fill out the Attorney Compensation form, therefore Trustee cannot
     determine whether the amount requested is correct.

     Facts:
        The attorney disclosure statement indicates that the attorney will not be seeking any further fees.
     However, the plan indicates that the Attorney is seeking $8,100.00 more in fees. The two statements are
     inconsistent.


                              OTHER DOCUMENTS FILED CONCURRENTLY HEREWITH

         Points and Authorities                               Declaration
         Other:



                               III. TRUSTEE’S RECOMMENDATION/ANALYSIS

          The current plan can be confirmed with the            The current plan is not confirmable and a modified
     following changes in the Order Confirming Plan:        plan will be required to be filed and set for hearing.

         No confirmable plan can be filed based on              A briefing schedule should be set and the parties
     the facts of this case.                                should file a statement of disputed and undisputed
                                                            facts.

        Other: The Trustee cannot recommend                     Other: An amended plan is necessary if the
     confirmation at this time because the Debtor has       Debtor wished to accept the executory contract listed
     not provided necessary tax returns, amended            in Amended Schedule G, Doc # 34. In that once a plan
     certain schedules, and provided declarations           is confirmed an unaccepted executory contract is
     regarding the fair discrimination of certain           deemed rejected. See 11 USC §365(d)(2).
     unsecured debt.

    WHEREFORE, the Trustee requests:

        That the Trustee’s objection to confirmation of the plan be sustained.

        That the Trustee’s objection to confirmation of the plan be sustained and a bar date to achieve
    confirmation be set.

        Such other and further relief as the Court deems proper.


                                                         Respectfully Submitted,
     DATE: 2‐16‐16                                      /s/ Deanna K. Hazelton
                                                        Deanna K. Hazelton, Senior Staff Attorney for
                                                        Michael H. Meyer, Chapter 13 Trustee
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